EXHIBIT 2
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 BEFORE: JOAN M. AZRACK                                            DATE: 11/2/2022
 UNITED STATES DISTRICT JUDGE                                      TIME: 10:15 AM (45 min)

                            CRIMINAL CAUSE FOR SENTENCING                      FILED
                                                                               CLERK
 DOCKET NO. 20-cr-220 (JMA)                                          1:34 pm, Nov 02, 2022
                                                                         U.S. DISTRICT COURT
 DEFENDANT: Thomas Blaha      DEF. #: 1
                                                                    EASTERN DISTRICT OF NEW YORK
 ☒ Present ☐ Not present      ☐ Custody ☒Bail                            LONG ISLAND OFFICE
 DEFENSE COUNSEL: Kevin Faga
 ☐ Federal Defender     ☐ CJA       ☒ Retained

 AUSA: Anna Karamigios

 INTERPRETER:

 PROBATION OFFICER: Gregory Giblin

 COURT REPORTER: Paul Lombardi                              COURTROOM DEPUTY: LMP

 ☒    Case Called.           ☒ Counsel present for all sides.
 ☒    Sentencing held.              ☐ Sentencing adjourned to .
 ☒    Statements of victim, defendant and counsel heard.
 ☒    Defendant sentenced on Count 3 of the Indictment.

 SENTENCE TEXT: Imprisonment: 200 months. Supervised release: 5 years, with special
 conditions. Special assessment: $100.00. Fine: $40,000.00. JVTA: $5,000.00. Restitution
 ordered as set forth in the Judgment.

 ☒    Remaining open counts are dismissed on
              ☒ Government’s motion.           ☐ Court’s motion.
 ☒ Court advised defendant of right to appeal.
 ☐ Defendant waived right to appeal in plea agreement.
 ☐ Transcript of the proceeding sealed with the exception of providing a copy to the
 parties.

 Defendant   ☐ Remains in Custody. ☐ On bail pending appeal.
 ☒ Shall surrender to the institution designated by the U.S. Bureau of Prisons by 2:00 PM
 on 1/13/2023.

 OTHER: [47] Motion for forfeiture granted; order signed.
